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1    QUIN DENVIR, Bar #049374
     Federal Defender
2    ERIC V. KERSTEN, Bar #226429
     Assistant Federal Defender
3    Designated Counsel for Service
     2300 Tulare Street, Suite 330
4    Fresno, California 93721-2226
     Telephone: (559) 487-5561
5
     Attorney for Defendant
6    CHRISTOPHER TODD MACEDO
7
8                                  IN THE UNITED STATES DISTRICT COURT
9                               FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,            )               No. 1:04-cr-05361REC
                                          )
12                     Plaintiff,         )
                                          )               STIPULATION TO CONTINUE STATUS
13         v.                             )               CONFERENCE AND ORDER THEREON
                                          )
14   CHRISTOPHER TODD MACEDO,             )               Date: June 20, 2005
                                          )               Time: 9:00 a.m.
15                     Defendant.         )               Judge: Hon. Oliver W. Wanger
                                          )
16   ____________________________________ )
     _
17
18
            IT IS HEREBY STIPULATED by and between the parties hereto through their respective counsel,
19
     LAUREL J. MONTOYA, Assistant United States Attorney, Counsel for Plaintiff, and ERIC V.
20
     KERSTEN, Assistant Federal Defender, Counsel for Defendant Christopher Todd Macedo, that the status
21
     conference in this matter, now scheduled for May 31, 2005, may be continued to June 20, 2005, at
22
     9:00 a.m. The date currently set for status conference is May31, 2005. The requested new date is
23
     June 20, 2005, at 9:00 a.m.
24
            This continuance is requested for the reason that it is anticipated a negotiated settlement will
25
     resolve this matter, but additional time is needed for investigation and negotiations to either finalize the
26
     agreement or prepare for trial.
27
     ///
28
               Case 1:04-cr-05361-OWW Document 20 Filed 05/27/05 Page 2 of 3


1    ///
2            The parties agree that the delay resulting from the continuance shall be excluded in the interests of
3    justice, including but not limited to, the need for the period of time set forth herein for effective defense
4    preparation pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
5                                                                   McGREGOR W. SCOTT
                                                                    United States Attorney
6
                                                                    AUSA Montoya has approved of her
7                                                                   electronic signature being placed here
8    DATED: May 25, 2005                                    By /s/ Laurel J. Montoya
                                                                   LAUREL J. MONTOYA
9
10                                                                  QUIN DENVIR
                                                                    Federal Public Defender
11
12   DATED: May 25, 2005                                    By /s/ Eric V. Kersten
                                                                   ERIC V. KERSTEN
13                                                                 Assistant Federal Defender
                                                                   Attorney for Defendant
14                                                                 CHRISTOPHER TODD MACEDO
15
16
17
18                                                     ORDER
19           IT IS SO ORDERED. The intervening period of delay is excluded in the interests of justice
20   pursuant to 18 U.S.C. § 3161(h)(8)(B)(iv).
21
22   DATED: May 26             , 2005                       /s/ OLIVER W. WANGER
23                                                          OLIVER W. WANGER, Judge
                                                            United States District Court
24                                                          Eastern District of California
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     Stipulation to Continue Status Conference
     and [Proposed] Order Thereon                           2
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     Stipulation to Continue Status Conference
     and [Proposed] Order Thereon                3
